Case 9:23-cr-80083-RLR Document 1 Entered on FLSD Docket 05/12/2023 Page 1 of 8




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                         23-80083-CR-ROSENBERG/REINHART
                                      CASE NO. ____ _
                                            18 u.s.c. § 1343
                                                                                 KAN
  UNITED STATES OF AMERICA

  vs.                                                                   May 11, 2023

  CRAIG SHERMAN,                                                                       Miami

    Defendant.
 -------------I
                                            INDICTMENT

             The Grand Jury charges that:

                                      GENERAL ALLEGATIONS

        At all times material to this Indictment:

             1. Defendant CRAIG SHERMAN was admitted to the Florida Bar in 1975: · ·

             2. · Defendant CRAIG SHERMAN practiced law at the law firm of Sherman & .Sherman,
         .           .         .
 P.A, in Palm Beach County, Florida.

             3. Defendant CRAIG SHERMAN practiced civil law, focusing primarily on business

 transactions, banking, government, and corporate affairs.

             4.   ·Defendant CRAIG SHERMAN served as the town attorney for the Town of Bay

 Harborl slands, Florida, located in Miami-Dade.County, Florida.

             5. Defendant CRAIG SHERMAN maintained an Interest on Trust Accounts (IOTA)

 account for the law firm of Sherman & Sherman, P.A. at Bank of America, N.A., which account

 ended in 93 82.
Case 9:23-cr-80083-RLR Document 1 Entered on FLSD Docket 05/12/2023 Page 2 of 8




               6. Since 1986,V 1,wmsacl
                                      ientandfriendofdefendantCRV G SIIERV AN. V1
        p aintained abrokerageaccotmtending in 9239 atM org
                                                          'an Stanley in thenam eGSV IEnterprises.''

                   Since2012,V2w asaclientand friend ofdefendantCRAIG SHE                                   . V2

        m aintained abank accountending in 4444 atlberiaBnnk Cop oration n/lc/aFirstHorizpn
                      '        (                                             .                              .
        Corporation.V2 alsomaintainedabankaccountendingin3346atFifthThirdBnnk,N.A.
                                                    C O U NTS 1-8                 .
                                           (W ireFraud-18U.S.C.j1343)
                     . k                                                                           '
               8. Paragraphs1through 7oftheGeneralAllegationssectionofthislndictmçntare
                           .       ;                .

        incop oratedby referenceasthoughre-alleged in theirentirety herein.

                   From in oraboutNovem ber2013,through in oraboutAugust2020,in Palm Beach,

        Broward,and M iam i-DadeCotmties,inthe Southern DistrictofFlorida,and elsewhere,the

        àefendant,
                                               C R AIG SH E              ,

,       did ktlowingly and with intentto ddfraud,deviseandintendto devisea schem eand artificeto
        Lefraud,andforobtainingmoneyandpropertybymeansofmateriqllyfalseandfraudulent
        '                          -       -   --   --   -   -                         -
                                                                                                   ..       l



        pretenses,rem èsentations,and m omises,and forthepprposeofexecuting such schem eand
                                       2


    .
        artificetodefraudandforobtainingmoneyandjropertybymeansofmatetiallyfalseand
                                                                 %               -'x           -        '


        fraudulentpretenses,yepresentationsandprom ises,knoFingly trmpm itand causeto be
                                                                                           -
                                                                     ,

        transm itked in interstate com m erce,by m eans ofw iré com m tm ications,certain w ritings,signs,

        signals,picturesand sounds.
Case 9:23-cr-80083-RLR Document 1 Entered on FLSD Docket 05/12/2023 Page 3 of 8




                        PURPOSE OF TH E SCHEM E AND ARTIFICE

         10. ltwasthepurposeofthrschefneandartiticefordefendantCRAIQ SI-IERM AN to

 unjustlyenzichhimselfbymakingfalseandfraudulentrepresentationstoinvestorsaboutreal
 estatedevelopmentopporttmijes,persuadingtheinvestorstoinvestinthesenon-existentreal
 estatedevelopmentopportunitiesbased on thosem isiepresentations,and using theinvestm ent

 m oney forhisown andhis1aw firm 'suseandbeneft.

                TH E M ANNER ANb M EANS OF THE SCM M E AND ARTIFICE
        11. DefendantCRAIG SHERM AN advised cliçntsandâiendsto investin iealestate
 bevelopmentopporttmitiesforprojectsthatwereplnnnedorinprogressinSouthFlorida,
 includingintheTown ofBay Hmborlslands.

             DefendantCRM G STIERM AN falsely told V1thathe wasauthorized töbrokerthe

 saleofdévelopmentrightstocertainrealestatedevelopmentprojectsintheTownofBayHarbor
 Islandsto privateinvestors.DefendantCRM G SHE           furthertold V 1thatipvestorscould

'investinthöseprojects,b#loaningmoneytothedevelopers.
       13. DefendantCRM G SHE             falselytoldV2 thathewasauthorizedto broker

 investmentsinvariousrealestatedevelopmentprojectsinSouthflodda. DefendantCRAIG
 SH ERM AN toldV2thatprivateinvestorscouldinvestihthoseprojectsbylonningmoneytothe
            .




 developers.

       14. D efendantCRM G SH ERM AN solicited V 1 and V 2 to investin the dçvelo'pm ent

 rightsandintherealestatedevelopmentprojectsandpromisedV1andV2thatthey would
 receive interestpaym ents ata rate ofbetw een 6% to 10% npnually.D efendantCR AIG

 SHERM AN furtherprom ised V 1and V2thatthey wotzldreceivefullrepaym entof$heprincipal

 atan agreed upon tim e in the futtlre.
      Case 9:23-cr-80083-RLR Document 1 Entered on FLSD Docket 05/12/2023 Page 4 of 8



                                                  l
                      Defendant.clG lG Si.IE'                 drafteddoct
                                                                        'tmentsincludiqgPromisspryNotesfor
          V 1andV2 thatm emorialized theterm softheipvestm entagreem ens
                                                                      G
                                                                        sk '            .
                                                                   '
                                      .
                                                      .                                                                    ï        $
                 16. D efendantCR M G SH E                    falsely tô1d,V 1 thatan alleged m oratodllm had been
                                                                                                                               ''
                                                                                                          .

          placedonvaliousrealestateprojectsinthéTownofBaytl-larborlslandswhichwerethesubject
                                  /                   .                                     r                                               .



          otV1'j'investment. Asaresultofthisalleged'moratorblm,DefendantCRM G SHERM AN told                       ,



          V 1thatliew ouldtemporarily stoplpazngintemstpayments.
                                                               toV1.
                      DefendantCRM G SHERM AN didnotinvestV1antlV2'smoneyaspromised.
                                                          J                                     -
                                                                                                71        t
                                                                                                          -   '
          DefendantCRAIG SHERMAN usedVfandV2'sinvesu entfundsforllisownpersonaluseand
          benefit,xhis1aw firm 'suseand benèfit,andtp sustain thefraud by paying the interestpaym entsto
                                                                                                .                                       .
                       '                      .                                 y
                                                                                .                    ..
          V 1andV2 with theirown m oney.

                                                  U SE O F TH E W IRES
                                                              .-                (
                                                              .    z
                                                                   .
                              .                                    (
                 18. 'On oraboutthedatçsindicated- below i
                                                         nPalm Beach,Broward,andVtami-Dade
          Cotmties,in!he Southem DistrictofFlorida,and elsewhere,thedefendant,

                                                  Ckw IG S% RM AN,
          forthepurposeofexecutingtheaforesaidschem:andartiticetddeâaudandtoobtainmoney

      '
          and property,did know ingly'j cause to be transm itted in interstate com m erce,certain m itings,,
             .
'/J                                       1                                x.
                                                  .                                 .                                 <
 .                                                                                                                        N'

          signs,signqls,picturesandspundsby m eansofwire comrntmicatiod,asm ortpartiçularly

          described bçlow :




                                                                       4
Case 9:23-cr-80083-RLR Document 1 Entered on FLSD Docket 05/12/2023 Page 5 of 8




   Count         Approxim ate             Description ofW ireCop m unication
                 D ate
   1.            06/04/18                 $250.,000wiretransferfrom V l'sM organ Stanley accotmtin
                                      Florida,via Citibnnk,to Shenhan & Sherman,P.A 'sIOTA
                                      accountatBank ofAmerica,which caused an electronic
                                      transmission ofrouting infornption toBarlk ofAm erica'sservers
        .                             located outsideofFlorida.
   2             07/17/18             DepositofV2's$500,000check(#1316)from lbdriaBank in  .

                                      Floridato Sherm an & Sherman,P.A.'SIOTA accotmtatBank of
                                      America,which caused an electronictransmission ofrouting
                                      information to Bank ofAm erica'sServerslocated outsideof
                                      '

                                      Florida.
   3         ' 08/29/18               $150,000wire transfersent9om V l'sM otgan Stanley accotmtin
                                      Florida,via Citibnnk,to Sherm an & Sherm aù, P.A .'S IO TA
                                      accotmtatBank ofAm erica,which caused an çlectronic
                                      transm ission ofrouting intbnnation toBank ofAm erica'sservers
                                      located outside ofFlorida.                                 .

   4            10/25/18              $150,000 wiretransfersentfrom V l'sM organ Stanley accountin
                                      Florida,viaCitibank,to Sherman & Sherinan, P.A.'SIOTA
                                      accogntatBnnk ofAm erica,which caused an electronic
                                      trmlsmissionofroutinjilttbnnationtoBnnkofAmerica'sservers
                                      located outside ofFlonda.
   5            01/08/19              $150,000wiretransfersentâom V l'sM organ Stanley accotmtin
                                  .   Florida,viaCitibank,to Sherm an & Sherm an, P.A .'SIOTA
                                      accountatzankofAmerica,whichcausedanelectrorlic
                                      transm ission ofrouting information toBnnk ofAm erica'sservers
                                      located outside ofFlorida.
  6             02/20/19              $250,000 wiretransfersentfrom V l'sM organ Stanley accountin   .

                                      Floridw viaCitibnnk,to Sherman & Sherm an, P.A.'SIOTA
                                      accountatBank ofAm erica,which caused an electm nic
                                      transmission ofrouting inform ation to Bnpk ofAmerica'sservers
                                      located outside ofFlorida.
  7             03/27/19 '            $1505000 wiretransfersent9om V l'sM organ Stnnley accpuntin
                                      Florida,via Citibnnk,to Sherm an & Sherm ân, P.A .'SIOTA
                                      accotmtatBank ofAm erica,which caused an electronic
                                      tfansm ission ofrouting infonnation toBnnk ofAm erica'sservers
                                      located outsideofFlorida.
  8             05/23/19           DepositofV2's$50,000 check(#121)from FifthThirdBankin
                                   Floridato Sherm an & Shennan,P.A.'SIOTA accotmtatBnnk of
                                   Am erica,w hich caused an eleckortic transm ission ofrouting
                                   inform atioh to Bnnk ofA m erica's serverslocated outside of
                                   Florida.                                .    .




            In violation ofTitle 18,U nited States Code, Section 1343.


                                                        5
Case 9:23-cr-80083-RLR Document 1 Entered on FLSD Docket 05/12/2023 Page 6 of 8




                                                      #ORFEITURE
               1.            The allegatiqnsofthislndictmentarehereby realleged'and by thisreference

     incoporatebherein forthepurposeofallegingforfeitu/etotheUnitedStatesofAmericaof
                                                                                       t
 '
     certain property in which the defendant,CR M G SH ERM AN,hasan interest.
                             Uponconvictionofaviolation gfTitlet8,UnitedStatesCode,Section 1343,as
                                                                           '                  .        .
                                                                   .               .
                         .
                                                               1

     alleged in thljIndictm ent,thedefendantshallforfeitto theUpited Statesany pröperty,realor '
                    .'
                                       .
                    .



     perstmal,whiçh constituiesofisderivedf'
                                           rom proceedstraceabletosuçhoffepse,pprsuantto

     Title 18,United StatesCode,Sedion981(a)(1)(C).
               A11pursuanttoTitlq 18,United StatesCode,Sedion 981(à)(1)(C)andtheproceduresset
     forthinTitl:21,UnitedStatesCode,Section 853,asineorporatedbyTitle28,UniiedStatesCode,
                                                                               '
                         /

     Section2461(c),
                   .



                                                               A TRU E BILL


                                                  r            FO REP    soN

      V           .
     M ARKENZY APOm TE
     UNITED STATE!ATTORN Y
                                       è
      -$   .
                                           '. .

     L RENCE M . ARDF D
     ASSISTANT U.S.XTTORNEY




                                                           6
         Case 9:23-cr-80083-RLR Document 1 Entered on FLSD Docket 05/12/2023 Page 7 of 8
                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF FLORIDX

UNITED STATES OF AM ERICA                                        C A SE N O .:                                            -

V.
                                                                 CERTI#ICATE OF Tm M zATTOO EY               '
CRA IGN SH ERM AN                                                                                                (.
                                                 /               Supep eding CaseInform ation:
                                                                 New Defçndantts)(YesorNo)
conrtDivjsion (selçctone)                                        N um berofN ew D efendants
   IZIM iami .n Key W est D
                          ''FTP                                  Tötalnum ber ofcotmts
   ID FTL         ?
                  ' M?PB

Ido hem by certify that:
  1. 1havecarefully considered tll:allegatiopsofthe indictment,thenllmberofdefendants,thenumberofprobable
             .                                           r   '               '                                   .    .
             witnessesandthe'lejalcomglexitiesoftheIndicfment/lnformationattachedhereto. .
                                                         .



             Iam awârethatthelnformatlonsupjliedonthlsstatementwillberelieduponbytheJudgeéofthisCotu'tinsetting
         .   theircalendarsand schedulingcriminaltrialsunderthemandateoftheSpeedyTrialAct,Title28U.S.C.j3161.
             Interpreter:@ esorNo)N0
                 Listlangtlagçând/ordialect:
             '   Thiscasewilltake 2-3 daystb/thepartiestotry.

             Please check appropdate category and type ofoffense listed below :
                 (Checkorilyone)           '           (Checkonlyone)
              I jm 0to 5days                          I
                                                      '
                                                      .
                                                      ZIPetty
              11 ID 6to 10days                       IZIM inor
              IIl I
                  ZI11to20days                        I
                                                      ' M isdemeanor
                                                      D
              IV El21to 60days                       IEIFelpny
             'V IZI61daysand over
                                                                                                iv
 6. HasthiscasebeenpreviouslyfiledinthisDistrictCourt?(YesorNo)1NO
                 Ifyes,Judge'                                        CaseN o.
     Hasacomplasntbeenfiledinthismatter?(YesorNo)No                           '
     Ifyes,V ajistrate.CaseNo. .                      '
 8* 'Doesthiscaserelateioapreviouslyfiledmatter'inthisDistrictCourt?(YesorNo)NO
     .

   ' tfyes,Judge                           CaseNo.
 9. Defendal lttsl.infederatcustodyasof
             x


 10k Defendantts)in statecujtodyasof
  11.' kule20 fiom the                         Districtof
  12: lsthisapotehtialdeathpenaltycase?(YesorNo)No
  13. D oestllis case originate fiom a m atterpe'nding irltheN orthern Region ofthe U .S.A tlorney'sO ffice
             priortoAuguyt8,2014(M ag.JudgeShaniekM aynard?(YesorNo)No
  14J'D oeàthisqaseoriginatefrom am atterpending in theCentralRegion oftheU .S.Attqrney'sOffice
             priortoOctober3,2019(M ag.JudgeJamdStfauss?(YesorNo)No
  15. Didthism atteriiwolvethqpM icipation oforconsultation with now M agiskateJudgçEduardo 1.Sanchez
      dudng M stenùreattheU .S.Attorney'sOffbe,which concluded on January 22,2023?NO

                                                                                                    N
                                                                 '
                                                                         .       $   -          ' .. .
                                                                                                     -
                                                             .   Bv:                                             ,,
                                                                             LA          N CE M . ARD FEL
                                                                                                .

                                                                             AjsistantUnited StatesAtlornqy
                                                                             FL BàrN o.        0712450
                                                                                                         t
Case 9:23-cr-80083-RLR Document 1 Entered on FLSD Docket 05/12/2023 Page 8 of 8




                                      U NITED STA TE S D ISTRICT C O UR T
                                      SO UTH ERN DISTRICT O F FLO R IDA

                                                   P/NALTY SHEET
 '
        D efendant'sNam e: Crai/ Sherm an

        C aseN o:                                                                   .

        Colm t1-8



        18 U.S.C.j 1343                                            '
        * M ax.Term ofIm prisonm ent:20 years
        * M in.Term ofIm prisonm ent:
        * M ax.SuperviNed Release:3 years
        % M ax.Finé:$250,000                                  '<                                               .


        Cotmt:



'
        * M ax.Term oflm prisonm ent:
        kkM in. Term ofIm prisonp ent:
    .   *M ax.Supefvised Release:
        * M ax.Fine:                           .


        Count:




        * M ax.Term ofIm prisopm ent:
        *M in..Term ofImhrisonment:
        * M ax.Supervised R elease:
        * M ax.Fine:              .                       .




        WRefersonly to possibleterm ofincarceration,supervised releaseànd fines.Itdoesnotincluderestitution,
    '
    spec
       'ialassessm ents,parole term s,or forfeituresthatm ay be applicable.                    '
